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                            EXHIBIT 1
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA



               APPLE INC.,

                          Plaintiff,

               vs.                                           No. 9:19-cv-81160-RS

               CORELLIUM, LLC,

                          Defendants.

               __________________________/




                                  DEPOSITION OF IVAN KRSTIC

                       HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY




                          Date:              Thursday, March 19, 2020

                          Time               10:05 a.m.

                          Location:          All parties via
                                             videoconference


                          Stenographically reported by:

                                             Nina Pavone, CSR
                                             License No. CSR-7802




                                             *   *   *   *



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      1                                   APPEARANCES

      2        For the Plaintiff:

      3                   LATHAM & WATKINS LLP
                          BY: GABRIEL S. GROSS,
      4                        JEREMIAH EGGER,
                               ATTORNEYS AT LAW
      5                   140 Scott Drive
                          Menlo Park, CA 94025
      6                   650.463.2628
                          gabe.gross@lw.com
      7                   (Via videoconference)

      8

      9        For the Defendants:

     10                   COLE, SCOTT & KISSANE, P.A.
                          BY: JONATHAN VINE,
     11                        LIZZA CONSTANTINE,
                               ATTORNEYS AT LAW
     12                   222 Lakeview Avenue, Suite 120
                          West Palm Beach, FL 33401
     13                   561.383.9222
                          jonathan.vine@csklegal.com
     14                   (Via videoconference)

     15        Also present:

     16                   Chris Wade, Amanda Gorton, Jess Koehler
                          (Via videoconference)
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                                                                           Page 6
      1                                      -oOo-

      2                                   PROCEEDINGS

      3                   THE REPORTER:     Before we proceed, I will ask

      4        counsel to agree on the record that under the current

      5        National Emergency, due to COVID-19, that there is no

      6        objection to this deposition officer administering

      7        the oath to the witness via remote video conference.

      8        Please state your agreement on the record.

      9                   MR. VINE:    No objection.

     10                   MR. GROSS:    No objection from the plaintiff.

     11                                     --oOo--

     12                                   IVAN KRSTIC,

     13                    having been first duly sworn by the

     14                    Certified Shorthand Reporter to tell

     15                    the truth, the whole truth, and nothing

     16                    but the truth, testified as follows:

     17                                   EXAMINATION

     18        BY MR. VINE:

     19              Q. Mr. Krstic, is that how I pronounce your last

     20        name?

     21              A. Almost.      It's like the cur in current

     22        followed by stitch like stitching.           So Krstic.

     23              Q. Perfect.      So my name is Jonathan Vine.       I'm

     24        from the law firm of Cole, Scott & Kissane.           I have

     25        the privilege of representing Corellium.


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                                                                        Page 7
     1                 You understand you're here pursuant to a

     2       subpoena?

     3             A. I believe so.

     4             Q. Have you ever sat for a deposition before?

     5             A. I have not.

     6             Q. Okay.    I'm going to give you some ground

     7       rules that we all have as typical for a deposition.

     8       I'm going to start with the following.

     9                 One, all your responses need to be verbal as

    10       the court reporter can't take down non-verbal

    11       responses.

    12                 Is that acceptable?

    13             A. Of course.

    14             Q. So nods and gestures or anything not audible,

    15       does that make sense?

    16             A. Yeah.

    17             Q. Okay.    From time to time, you're going to

    18       hear objection from counsel and -- counsel for Apple.

    19       You're still required to answer the question unless

    20       he directs you not to answer.

    21                 I'm not going to have a debate with Mr. Gross

    22       today about those objections.        We can just move on

    23       and he and I or our two friends will have that issue

    24       addressed on a different day.

    25                 It's also important that you wait for me to


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     1       complete my question especially because we're doing

     2       this by video and there's a bit of a lag time.          The

     3       court reporter can't take the two of us speaking down

     4       at the same time.

     5                 Do you understand that?

     6             A. Yes.

     7             Q. If you do not understand my question please

     8       ask me to rephrase it.      If you don't ask me to

     9       rephrase it I'm going to assume you understood the

    10       question.    Okay?

    11             A. Yes.

    12             Q. And of course, if you need a break at any

    13       point, feel free to let me know or your counsel know

    14       and we're happy to take that break.

    15             A. Thank you.     I appreciate that.

    16             Q. Okay.    How did you prepare today for your

    17       deposition?

    18                 MR. GROSS:    Let me object.

    19                 Mr. Krstic, let me interpose an objection to

    20       remind you when you answer Mr. Vine's question you

    21       should not reveal the content of any communications

    22       you had with your counsel, but if you can answer

    23       without doing that, you may go ahead.

    24       BY MR. VINE:

    25             Q. And let me add to that, just so it's clear.


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     1       Mr. Gross is correct, I have no desire to get any

     2       privileged communications.       So my questions are not

     3       for that.

     4                 Certainly you can tell me if you met with

     5       your counsel, but you can't tell me about the

     6       communication with your counsel.

     7                 Does that make sense?

     8             A. Yes.    Thank you.    I met with counsel

     9       yesterday.

    10             Q. Yesterday?

    11             A. Yes.

    12             Q. Okay.    And was that the first time you met

    13       with counsel to prepare for your deposition?

    14             A. Yes.

    15             Q. Okay.    Had you ever spoken to any lawyer from

    16       Latham & Watkins to prepare yourself for your

    17       deposition prior to yesterday?

    18             A. I don't believe so.

    19             Q. Okay.    Have you spoken to anybody from

    20       Apple's legal department prior to yesterday to

    21       prepare for your deposition?

    22             A. No, I don't believe so.

    23             Q. Okay.    When did you first learn that you were

    24       required to be deposed?

    25             A. I don't recall the exact date, but I think it


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     1       was perhaps a month ago in the context of just

     2       scheduling available dates.

     3             Q. Okay.    Did you review any documents in

     4       preparation for your deposition?

     5             A. Yes, I have.

     6             Q. Okay.    What documents did you review?

     7             A. I don't recall any of the exact documents.

     8       We reviewed a number of them, but generally, the

     9       categories were things like e-mails and some text

    10       message exchanges.

    11             Q. Okay.    Did you receive copies of the exhibits

    12       that we intend to potentially use at today's

    13       deposition?

    14                 MR. GROSS:    Objection.    Foundation.

    15       BY MR. VINE:

    16             Q. You can answer.

    17             A. I'm not entirely sure.       I received some

    18       documents, but I'm not sure whether they are the

    19       complete set you are going to use today.

    20             Q. Okay.    Fair enough.

    21             A. So -- by the way, if I may, am I supposed to

    22       see you on video?

    23             Q. Yes.    Can you see me now?

    24             A. No.    I see -- oh, okay.     There we go.    Zoom

    25       was hiding you.     I see you now.     Perfect.     Thank you.


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                                     231
                                                                       Page 11
     1             Q. Okay.    Did you review text messages with

     2       Chris Wade?

     3             A. Yes.

     4             Q. Okay.    Did you review text messages in

     5       relation to the acquisition of Corellium?

     6             A. Yes.

     7                 MR. GROSS:      Objection.   Vague.   Foundation.

     8       BY MR. VINE:

     9             Q. You can answer.

    10             A. Yes, I believe so.

    11             Q. Okay.    I want to get some background

    12       information.     If you could give me a brief

    13       description of your educational background, I'd

    14       greatly appreciate it.

    15             A. Certainly.     I went to high school in America

    16       in Michigan.     I then went to college at Harvard

    17       University where I decided to drop out to join an

    18       education nonprofit and that terminated my formal

    19       education.

    20             Q. Did you graduate from the school in Michigan?

    21             A. I have, yes.

    22             Q. What school was that?

    23             A. It was Cranbrook of Kingswood High School.

    24             Q. After high school, did you go to college?

    25             A. Yes.    Sorry.    I might have not been clear.


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     1       After completing high school I went to Harvard

     2       University for undergrad, but did not complete that

     3       degree.

     4             Q. Understood.     And how many years did you go to

     5       Harvard?

     6             A. One.

     7             Q. Okay.    And what year was that?

     8             A. I started at Harvard in, I believe, the fall

     9       of 2004.     I completed one semester at the time, took

    10       a leave of absence and returned for a second semester

    11       about a year later.

    12             Q. Understood.     When did you first start working

    13       for Apple?

    14             A. In May of 2009.

    15             Q. What was your role when you started at Apple?

    16             A. I was a junior software engineer working on

    17       security.

    18             Q. And how long did you stay in that role?

    19             A. I don't remember exactly, but several years.

    20             Q. Prior to working at Apple, so prior to 2009,

    21       where were you employed, if at all?

    22             A. I was employed at a nonprofit called One

    23       Laptop per Child.

    24             Q. How many years were you there?

    25             A. About two.


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     1             Q. Okay.    And what did you do there?

     2             A. I worked on a variety of the software

     3       challenges with that project with a particular focus

     4       on security.

     5             Q. Okay.    And before One Laptop per Child were

     6       you employed?

     7             A. No.

     8             Q. Okay.    So you went from Harvard to One Laptop

     9       per Child to Apple; is that correct?

    10             A. Yes.    I thought -- that's roughly correct.        I

    11       had done some brief consulting in the middle, most of

    12       it unpaid.

    13             Q. Consulting with whom?

    14             A. Zagreb Children's Hospital.        Zagreb is the

    15       capital city of Croatia which is where I'm from, as

    16       well as Facebook.

    17             Q. What kind of consulting did you do for

    18       Facebook?

    19             A. Primarily, security and software

    20       architecture.

    21             Q. When did you become the head of Apple's

    22       security engineering and architecture?

    23             A. A little over four years ago.

    24             Q. Okay.    So prior to four years ago, what was

    25       your title?


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                                                                       Page 14
     1             A. Before that, my title was software

     2       engineering manager.      I was manager of a different

     3       small team.

     4             Q. Okay.    But in the security field?

     5             A. Yes.

     6             Q. And prior to being a manager, you were a

     7       software security engineer?

     8             A. That's correct.

     9             Q. So those were three separate titles during

    10       your tenure at Apple; is that correct?

    11             A. Yes.    The levelling of the individual

    12       engineering role changed over time, but yes.

    13             Q. Okay.    And currently as head of Apple

    14       security and engineering and architecture how many

    15       people do you supervise?

    16             A. About 220.

    17             Q. And what is your -- what are your job

    18       functions?    What do your duties entail?

    19                 MR. GROSS:    I'd like to interpose a quick

    20       objection for confidentiality reasons.

    21                 Mr. Krstic, if you think, in answering this

    22       question, you need to reveal anything confidential to

    23       Apple, will you please say so and we can make some

    24       accommodations before you answer?

    25                 THE WITNESS:    Thank you.    I think I can


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     1       answer without revealing anything confidential, at

     2       least the current question.

     3                 So my job responsibility is to manage the

     4       Apple -- in my current role, I manage a group that is

     5       responsible end-to-end for the security of all

     6       products that Apple ships to customers.

     7       BY MR. VINE:

     8             Q. So you're in charge of all the security for

     9       all Apple products, right?

    10             A. For all Apple products, yes.

    11             Q. Okay.    Does your job include the design of

    12       implementation of the key security mechanisms in

    13       Apple products?

    14             A. Yes, it does.

    15             Q. Who do you report to?

    16             A. I report to Sebastien Marineau-Mes.

    17             Q. And what is his title?

    18             A. He is a vice president of software

    19       engineering.

    20             Q. And does he report to Craig Federighi?

    21                 MR. GROSS:    Foundation.

    22       BY MR. VINE:

    23             Q. You can answer.

    24             A. Yes, he does.

    25             Q. Do you report in any fashion to Craig


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                                                                       Page 16
     1       Federighi?

     2             A. No, I do not.

     3             Q. Okay.    Do you communicate with him regularly

     4       regarding your day-to-day activities?

     5             A. I don't communicate with him regarding the

     6       day-to-day activities, but I have ongoing contact

     7       with him.

     8             Q. And your ongoing contact relates to your job

     9       functions, correct?

    10                 MR. GROSS:    Vague.

    11       BY MR. VINE:

    12             Q. You can answer.

    13             A. Yes, that's correct.

    14             Q. Okay.    And one of your job functions is the

    15       overall security functions in the Apple products,

    16       correct?

    17             A. That's correct.

    18             Q. Okay.    Do you ever speak at conferences?

    19             A. Yes, I've spoken a couple of times, yes, a

    20       couple of times I've spoken at conferences while

    21       employed at Apple.

    22             Q. Is Black Hat one of them?

    23             A. Yes.    The only two times I've spoken at an

    24       industry conference while working for Apple was for

    25       Black Hat.


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     1             Q. What is Black Hat?

     2             A. Black Hat is a prominent computer security

     3       industry conference.

     4             Q. And what years did you speak at Black Hat?

     5             A. I spoke last year and then I want to say

     6       about two years prior.

     7             Q. And do you recall what you spoke about last

     8       year?

     9             A. Yes.

    10             Q. Okay.     What do you recall you spoke about

    11       last year?

    12             A. I covered several technical topics regarding

    13       security features and work that was done in a variety

    14       of Apple products, as well as changes to the Apple

    15       security bounty.

    16             Q. And you're referring to the bug bounty

    17       program, correct?

    18             A. That's correct.        It's called the Apple

    19       Security Bounty Program formally.

    20             Q. And you implemented changes in 2019; isn't

    21       that correct?

    22             A. Yes.

    23             Q. We'll get to that at some point.

    24                  Okay.   In 2017, you also spoke at the Black

    25       Hat conference.


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     1                  Can you tell me what you talked about there?

     2             A. Yes.    Similarly to 2019, I covered a number

     3       of text message security mechanisms that were unique

     4       to Apple platforms.       In 2017, I first announced the

     5       Apple Security Bounty Program.

     6             Q. Okay.    Did you also talk about the removal of

     7       the encryption of the kernel?

     8                  MR. GROSS:    Excuse me.   Objection.      Vague.

     9       Foundation.

    10       BY MR. VINE:

    11             Q. You can answer.

    12             A. I don't immediately remember, but it's

    13       possible.

    14             Q. Okay.    When do you recall when the removal of

    15       the encryption was done at Apple?

    16                  MR. GROSS:    Objection.   Foundation.

    17                  MR. VINE:    Let me withdraw that.       Let me take

    18       that back.     Good objection.

    19       BY MR. VINE:

    20             Q.

    21

    22             A.

    23             Q.

    24

    25             A.


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                                     231
                                                                       Page 19
     1             Q. Okay.

     2

     3             A.                                   .

     4             Q. Okay.

     5

     6             A. That sounds correct to me.

     7             Q. Okay.    Back to Black Hat, what is the -- do

     8       you know what the term "Black Hat" means?

     9             A. Yes.

    10             Q. What does it mean?

    11             A. It refers to hackers usually with malicious

    12       or nefarious intent.

    13             Q. Why would Apple be sending representatives to

    14       a conference called Black Hat that refers to hackers

    15       with malicious or nefarious intent, question mark?

    16             A. Black Hat is seen universally by, I would

    17       say, every major tech company as one of the

    18       pre-eminent security conferences.         It's a business

    19       conference and the name is more a historical relic

    20       than any reflection of the content for the

    21       professionality level of that conference.

    22             Q. Are there hackers that attend and participate

    23       at the conference?

    24                  MR. GROSS:   Objection.    Foundation.    Calls

    25       for speculation.


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                                                                       Page 20
     1       BY MR. VINE:

     2             Q. You may answer.

     3             A. Presumably.     I have no direct knowledge of

     4       the full attendees of that conference.

     5             Q. Okay.    Are you aware of any hackers that have

     6       attended the Black Hat conference when you were

     7       present?

     8                 MR. GROSS:     Can you clarify what you mean by

     9       hackers?

    10       BY MR. VINE:

    11             Q. What is your definition of a hacker?

    12             A. I grew up in a time when hacker meant people

    13       who were technical tinkerers and liked understanding

    14       how complex computer systems work.

    15             Q. Okay.    So that's what you're -- you're

    16       telling the ladies and gentlemen of the jury under

    17       oath, that's what your understanding of the word

    18       "hacker" means?

    19                 MR. GROSS:    Objection.    Vague.

    20                 THE WITNESS:    I think that in order -- I

    21       think that in order --

    22       BY MR. VINE:

    23             Q. You can answer.

    24             A. To answer your question about -- yes, in

    25       order to answer your question that's asking me to


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 24 of
                                     231
                                                                       Page 21
     1       speculate whether people attended that conference,

     2       I'm asking you to clarify what hacker means to you

     3       and I would be happy to try to give you a good

     4       answer.

     5             Q. I'm asking you -- I ask the questions here.

     6                  So I'm asking you to define what you

     7       understand hacker means and then you gave me a

     8       definition; is that correct?

     9             A. Yes.

    10             Q. Okay.    So your definition of hacker did not

    11       include malicious or nefarious intent; isn't that

    12       correct?

    13                 MR. GROSS:    Objection.    Misstates the

    14       testimony.

    15                 Go ahead.

    16                 MR. VINE:    Mr. Gross, I appreciate the

    17       objection.    That's, of course, something that we do

    18       not allow in the Southern District.         You're allowed

    19       to say form or something related to that, but that

    20       last comment was definitely over the grounds.

    21                 So please refrain from doing that.

    22       BY MR. VINE:

    23             Q. Go ahead, Mr. Krstic.

    24             A. I'm sorry, what was your question?

    25             Q. Okay.    Your definition did not include


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 25 of
                                     231
                                                                       Page 22
     1       nefarious or malicious intent of hackers; isn't that

     2       correct?

     3              A. That's correct.      I think I'm less qualified

     4       specifically to define their intent, such as white

     5       hat hackers or black hat hackers or in some other

     6       way.

     7              Q. What's a white hat hacker?

     8              A. White hat hackers are hackers who use their

     9       skills in order to try and prove the security of

    10       various deployed computer systems.

    11              Q. Now, back to the removal of the encryption,

    12       did they remove encryption of DEF CON?

    13                 MR. GROSS:    Objection.

    14                 MR. VINE:    D-E-F-C-O-N.

    15       BY MR. VINE:

    16              Q. Did you attend the DEF CON conference?

    17              A. I don't recall.      It's possible that I stopped

    18       by informally and briefly, but I did not attend in

    19       any formal capacity.

    20              Q. What is the DEF CON conference?

    21              A. DEF CON is a larger community event for the

    22       security community that happens right after Black Hat

    23       in -- in Las Vegas as well.

    24              Q. Do you know who Chris Wade is?

    25              A. Yes.


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 26 of
                                     231
                                                                       Page 23
     1               Q. Okay.   Who is he?

     2               A. Chris Wade is a computer security engineer

     3       and here, perhaps most relevant, the founder of

     4       Corellium.

     5               Q. Okay.   And when did you first meet Chris

     6       Wade?

     7               A. I don't recall exactly, but it was quite a

     8       long time ago.       I would guess 2011 or '12.

     9               Q. And in what context did you meet Mr. Wade?

    10             A. I, unfortunately, don't recall the details of

    11       this.     He came to my attention because of some work

    12       that he was doing, but I don't actually remember how

    13       we ended up meeting for the first time.

    14             Q. What type of work was he doing?

    15             A.

    16

    17             Q. And what is that project?

    18             A.

    19

    20             Q. What's an emulator?

    21             A. An emulator is a technical tool that enables

    22       the execution of one type of system usually on top of

    23       a different system.

    24             Q. And an emulation is different than

    25       virtualization; is that correct?


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 27 of
                                     231
                                                                       Page 24
     1             A. Yes, that is correct.

     2             Q. Is emulation different than simulation?

     3             A. Usually, yes.

     4             Q. Do you recall meeting with Chris in 2014?

     5             A.




     8             Q. Okay.    Do you recall having many meetings

     9       with him from 2011 through present?

    10



    12             Q. Who's Jacques Vidrine?

    13             A. At the time when I joined Apple, Jacques

    14       Vidrine was my manager.

    15             Q. And

    16

    17

    18             A.

    19

    20

    21

    22                                                              .

    23             Q. Okay.    I want you to take a look.        I'm going

    24       to give you the Bates stamp number and this we will

    25       mark as Exhibit 1, for the court reporter's sake.


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                                     231
                                                                       Page 25
     1                                                                 .

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     3                                                             .

     4                  MR. GROSS:    How you would you like him to

     5       access the document?

     6                  MR. VINE:    We forwarded you all the exhibits.

     7                  MR. GROSS:    Right.    We didn't know what your

     8       intent was in doing that.         He doesn't have that in

     9       front of him.

    10                  MR. VINE:    Well, if you could send him the

    11       exhibits, that would be --

    12                  MR. GROSS:    I don't think that will take

    13       long.     Give us a moment to do that.

    14                  I think we had heard that in a previous

    15       deposition they were being e-mailed in realtime.

    16                  MS. CONSTANTINE:      I'm going to have Amanda

    17       and Chris walk out of the room because I believe that

    18       document is marked confidential AEO, just so you are

    19       aware, they are outside of the room.

    20                  MR. VINE:    Thank you very much.

    21                  Gabe, the reason why we sent them all to you

    22       last night is because we wanted to -- we didn't want

    23       to have to do it in realtime.          That's why I had them

    24       sent yesterday.

    25                  MR. GROSS:    I don't think any instructions


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                                                                       Page 26
     1       came with it so give us a moment if you'd like us to

     2       give Mr. Krstic everything you sent us last night.

     3                  MR. VINE:    Sure, and then he'll be able to

     4       pull up each document.

     5                  MR. GROSS:     You should be receiving an e-mail

     6       momentarily with a series of attachments that should

     7       include the documents that Mr. Vine wants to ask you

     8       about.

     9                  THE WITNESS:    I am looking at my box.     The

    10       documents have not yet arrived.         I'll let you know as

    11       soon as they do.

    12       BY MR. VINE:

    13             Q.

    14             A. I believe they just arrived.

    15             Q. Okay.    Let me just ask this question and then

    16       we can go on to the document.

    17             A. Okay.

    18             Q.

    19

    20

    21                  MR. GROSS:   Objection.    Vague.

    22                  THE WITNESS:    I'm sorry,

    23

    24       BY MR. VINE:

    25             Q.


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                                     231
                                                                       Page 27
     1

     2

     3             A.

     4

     5                                                                 .

     6             Q. Okay.

     7

     8

     9             A.

    10

    11                              .

    12             Q.

    13

    14             A.

    15

    16

    17

    18             Q.

    19             A. I'm sorry, I didn't hear the last few words

    20       of your question.

    21             Q.

    22

    23

    24                  MR. GROSS:      Foundation.

    25                  Go ahead.


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                                     231
                                                                       Page 28
     1                  THE WITNESS:

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    12       BY MR. VINE:

    13             Q.

    14

    15             A.

    16

    17             Q.

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    21

    22             A.

    23

    24                                                    .

    25             Q. Okay.


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                                     231
                                                                       Page 29
     1

     2             A.

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     9             Q.

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    12             A.

    13

    14

    15

    16             Q.

    17

    18

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    20

    21                  MR. GROSS:   Objection.    Vague.

    22                  THE WITNESS:

    23       BY MR. VINE:

    24             Q.

    25


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                                     231
                                                                       Page 30
     1             A.

     2             Q.

     3             A.

     4             Q.

     5

     6             A.                                    .

     7             Q.

     8

     9             A. I

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    20                  MR. GROSS:

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    23                                                           .

    24                  MR. VINE:

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                                                                       Page 31
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     5                  MS. CONSTANTINE:

     6

     7                  MR. VINE:

     8                  MR. GROSS:

     9                      .

    10                  MR. VINE:

    11       BY MR. VINE:

    12             Q.

    13             A.

    14

    15             Q.

    16             A.

    17             Q.

    18

    19             A.

    20

    21             Q.

    22

    23             A.

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                                     231
                                                                       Page 32
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     4             A.

     5

     6             Q.

     7

     8             A.

     9             Q.

    10                  (Whereupon, Exhibit 1 was marked for

    11       identification.)

    12                  THE WITNESS:

    13

    14       BY MR. VINE:

    15             Q.

    16             A.

    17

    18             Q. Okay.

    19

    20             A.

    21             Q.

    22

    23             A.

    24             Q.

    25


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    20                 MR. GROSS:    Vague.   Foundation.

    21                 Go ahead.

    22       BY MR. VINE:

    23             Q. You can answer.

    24

    25


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                                     231
                                                                       Page 34
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     7             Q.

     8             A.

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    17             Q.

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    20             A.

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                                                                       Page 35
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     3             Q.

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     6             A.

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    16

    17             Q.

    18

    19             A

    20                  (Whereupon, Exhibit 2 was marked for

    21       identification.)

    22                  THE WITNESS:

    23       BY MR. VINE:

    24             Q.

    25


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                                     231
                                                                       Page 36
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     5             A.

     6             Q.

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     9             A.

    10             Q.

    11

    12             A.

    13

    14

    15             Q.

    16

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    21                  MR. GROSS:   Objection.    Compound.

    22       BY MR. VINE:

    23             Q. You can answer.

    24             A. I

    25


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                                     231
                                                                       Page 37
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    11             Q. It does.    I appreciate that.      And thank you

    12       for clarifying.

    13             A. Certainly.

    14             Q.

    15

    16

    17

    18

    19             A.

    20

    21             Q.

    22

    23

    24

    25             A.


                   3URYLGHGE\0DUWHOO$VVRFLDWHV
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                                                                       Page 38
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     8             A.                                             .

     9             Q.

    10             A.

    11

    12

    13

    14             Q.

    15

    16

    17             A.

    18             Q.

    19

    20             A.

    21

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    24                  (Whereupon, Exhibit 3 was marked for

    25       identification.)


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                                     231
                                                                       Page 39
     1       BY MR. VINE:

     2             Q.

     3

     4

     5                  MR. VINE:

     6

     7                  THE WITNESS:

     8

     9       BY MR. VINE:

    10             Q. Okay.

    11

    12

    13

    14             A.

    15             Q.

    16             A.

    17

    18             Q.

    19

    20             A.

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                                     231
                                                                       Page 40
     1

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     3

     4             Q. Okay.

     5

     6

     7

     8             A.

     9

    10             Q.

    11

    12             A.

    13             Q.

    14             A.

    15             Q.

    16             A.

    17

    18

    19

    20             Q.

    21

    22

    23             A.

    24

    25             Q.


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                                                                       Page 41
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    11             Q. Yes.

    12

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    24                 (Whereupon, Exhibit 4 was marked for

    25       identification.)


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                                     231
                                                                       Page 42
     1       BY MR. VINE:

     2             Q.

     3

     4

     5             A.

     6             Q.

     7

     8             A.

     9

    10             Q.

    11

    12

    13

    14             A.

    15             Q.

    16

    17

    18             A.

    19

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    22

    23             Q.

    24             A.

    25             Q.


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                                     231
                                                                       Page 43
     1             A.

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     3             Q.

     4

     5

     6             A.

     7

     8             Q.

     9

    10             A.

    11

    12

    13

    14

    15

    16

    17             Q.

    18             A.

    19             Q.

    20

    21             A.

    22

    23

    24             Q.

    25


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                                                                       Page 44
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     2

     3             A.

     4

     5

     6

     7             Q.

     8

     9

    10

    11

    12             A.

    13

    14             Q.

    15             A.

    16

    17

    18             Q.

    19

    20             A.

    21

    22             Q.

    23

    24

    25             A.


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                                     231
                                                                       Page 45
     1

     2

     3             Q.

     4

     5                  MR. GROSS:

     6

     7                  MR. VINE:

     8       BY MR. VINE:

     9             Q.

    10

    11

    12             A.

    13             Q.

    14

    15             A.

    16

    17             Q.

    18

    19             A.

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                                     231
                                                                       Page 46
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    10             Q. Okay.

    11                 MS. CONSTANTINE:

    12

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    16

    17                 MR. GROSS:

    18

    19                 MS. CONSTANTINE:

    20

    21

    22                 MR. GROSS:    Okay.   I need you to let me know

    23       upon entrance or exit from the room to make sure what

    24       parts of the record are being developed and who is in

    25       then because if a document itself may not have been


                   3URYLGHGE\0DUWHOO$VVRFLDWHV
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                                                                       Page 47
     1       highly confidential, but the testimony enters into

     2       that territory, I'll need to protect the record,

     3       please.

     4                 MS. CONSTANTINE:       I will let you know when

     5       she walks in.     If there are any communications that

     6       are attorneys' eyes only, if you can please let me

     7       know so I can have Amanda leave the room as well.

     8                 MR. GROSS:     Sure.    I'll do my best.   Let's

     9       help each other out with that, please.

    10                 MS. CONSTANTINE:       Thank you.

    11       BY MR. VINE:

    12             Q. So the question was:        Can you define iOS?

    13             A. Yes.    iOS is Apple's mobile operating system

    14       for iPhone.

    15             Q. What is included in iOS?

    16                 MR. GROSS:    Vague.

    17                 THE WITNESS:    iOS is --

    18       BY MR. VINE:

    19             Q. Strike that.

    20                 Do you know what is included in iOS?

    21             A. I don't have knowledge of every single

    22       component that is in iOS, no.

    23             Q. Okay.    Can you tell me what is included in

    24       iOS that you do have knowledge of?

    25             A. Certainly.     Everything from low level


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                                                                       Page 48
     1       firmware required to initialize the hardware to the

     2       low level system software required to boot the

     3       operating system to the high level pieces of the

     4       operating systems that users interface with and

     5       perceive to be the operating system.

     6             Q. So is iOS the operating system for multiple

     7       hardware devices?

     8             A. Until relatively recently, iOS also ran on

     9       iPad.     However, it was -- the name of that operating

    10       system was recently changed to iPad iOS.

    11             Q. Okay.     So I don't think you answered my

    12       question.      I'm going to ask it again.        I'm not as

    13       smart as you so we have to dumb it down for me.            So

    14       let me make sure I understood that.

    15                  Up until recently, was iOS the operating

    16       system for hardware devices produced by Apple?            Yes

    17       or no.

    18             A. Yes.

    19             Q. Okay.     Does iOS include applications?

    20             A. Yes, it does.

    21             Q. Does iOS include the GUI?          G-U-I, for the

    22       court reporter.

    23             A. Yes, it does.

    24             Q. Do you know if Apple has a copyright on iOS?

    25                  MR. GROSS:    Object to the extent it calls for


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                                                                       Page 49
     1       a legal conclusion.

     2                  You may answer.

     3                  THE WITNESS:   I would certainly presume so,

     4       but I'm not a lawyer.

     5       BY MR. VINE:

     6             Q. Well, we know you're not a lawyer.         I

     7       appreciate that.

     8                  At the beginning of the deposition we went

     9       over your education and I didn't hear law school or

    10       anything else related to that.        So let's go back to

    11       my question.

    12                 Are you aware if Apple maintains a copyright

    13       for iOS?    Yes or no.

    14                 MR. GROSS:    Same objection.

    15                 Go ahead.

    16                 THE WITNESS:    I certainly believe so, yes.

    17       BY MR. VINE:

    18             Q. When you say you certainly believe so, that

    19       means you have personal knowledge, sir?

    20             A. No, I did not have personal knowledge.         I

    21       don't -- it's not part of my job to be trying to gain

    22       direct personal knowledge over Apple's legal

    23       protections of its products.

    24             Q. Okay.    I'm confused.     Isn't your job meant

    25       for security and protection of Apple product?


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                                     231
                                                                       Page 50
     1             A. Yes, it is.

     2             Q. And as you sit here today as the head of --

     3       what's your title, sir, again?

     4             A. It's head of security, engineering and

     5       architecture.

     6             Q. So as Apple's head of security, engineering

     7       and architecture, you don't know -- you don't have

     8       personal knowledge as to whether iOS has a copyright

     9       on that; is that correct?

    10             A. That is correct.

    11             Q. Okay.

    12                 MR. GROSS:    We've been going almost an hour.

    13       When you're done with this line of questions,

    14       Jonathan, why don't we take our first restroom break,

    15       please.

    16                 MR. VINE:    One more question and then we'll

    17       take a break.

    18       BY MR. VINE:

    19             Q. So Mr. Krstic, tell me if I'm wrong, you

    20       can't tell me what Apple's copyright over iOS

    21       entails; is that correct?

    22                 MR. GROSS:    Object to the extent it calls for

    23       a legal conclusion.

    24                 You can answer.

    25                 THE WITNESS:    That is correct.


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                                     231
                                                                       Page 51
     1                  I would like to point out that from -- I'm

     2       perceiving you to be somewhat incredulous in asking

     3       me this, so I would like to state that my job is to

     4       protect the technical security of Apple's billion

     5       users and billion app devices.         My job is a security

     6       engineering role.       It is not a copyright role, a

     7       legal role or any other similar role.

     8                  MR. VINE:    Okay.    Gabe, any time you're

     9       ready, I can take the break now.

    10                  MR. GROSS:    Okay.    I can use one.    Let's go

    11       off the record, please.

    12                  MR. VINE:    Thank you.    We'll come back in

    13       five minutes or ten minutes.

    14                  (Whereupon, a break was taken.)

    15                  MS. CONSTANTINE:      Amanda Gorton is in the

    16       room with me.

    17       BY MR. VINE:

    18             Q.

    19

    20             A.

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                                     231
                                                                       Page 52
     1             Q.

     2             A.

     3

     4             Q.

     5             A.

     6

     7

     8             Q.

     9             A.

    10             Q.

    11             A.

    12             Q.

    13             A.

    14

    15             Q.

    16

    17             A.

    18

    19             Q.

    20

    21                  MR. GROSS:

    22                  THE WITNESS:

    23

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                                     231
                                                                       Page 53
     1

     2       BY MR. VINE:

     3             Q.

     4             A.

     5

     6             Q.

     7             A.

     8

     9

    10             Q

    11

    12             A.

    13             Q.

    14             A.

    15

    16

    17             Q.

    18                  MR. GROSS:

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    22

    23                  MR. VINE:

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                                     231
                                                                       Page 54
     1

     2       BY MR. VINE:

     3             Q.

     4

     5             A.

     6             Q.

     7

     8             A.

     9

    10             Q.

    11             A.

    12

    13

    14             Q.

    15             A.

    16             Q.

    17

    18             A.

    19             Q.

    20             A.

    21

    22

    23

    24

    25             Q.


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                                     231
                                                                       Page 55
     1

     2             A.

     3

     4             Q.

     5

     6

     7             A.

     8             Q.

     9             A.

    10             Q.

    11             A.

    12             Q.

    13             A.

    14

    15

    16

    17             Q.

    18             A.

    19

    20

    21             Q.

    22

    23             A.

    24             Q.

    25             A.


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                                     231
                                                                       Page 56
     1

     2             Q.

     3

     4

     5                  MR. GROSS:     I think this calls for some

     6       confidential testimony in response.         I'd like to ask

     7       Ms. Gorton to leave the room before Mr. Krstic

     8       answers.

     9                  MS. CONSTANTINE:     You are referring to

    10       confidential attorneys' eyes only, because she is

    11       able to hear information relating to confidential.

    12       So I want to be clear.

    13                  MR. GROSS:   That's what I understand.

    14                  MS. CONSTANTINE:    Is it confidential AEO or

    15       is it just confidential?

    16                  MR. GROSS:   We won't really know until the

    17       testimony comes out, so out of an abundance of

    18       caution, I need her to leave the room.

    19                  MS. CONSTANTINE:    Okay.   Amanda is leaving

    20       the room.

    21                  She is not in the room.

    22                  MR. GROSS:   Thank you.

    23                  THE WITNESS:

    24

    25


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                                     231
                                                                       Page 57
     1

     2       BY MR. VINE:

     3             Q.

     4             A.

     5

     6

     7

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     9

    10             Q. Does Apple have a copyright on the actual

    11       devices such as iPhone; do you know?

    12                  MR. GROSS:   Calls for a legal conclusion.

    13                  You may answer.

    14                  THE WITNESS:   I'm sorry, I don't -- I'm not

    15       familiar with the specifics of Apple legal

    16       protections.

    17       BY MR. VINE:

    18             Q. That wasn't my question.       Mr. Krstic, I would

    19       just ask that you listen to my question.

    20                  I have specifically asked if you're aware if

    21       Apple had a copyright on devices such as the iPhone.

    22       Do you know?     Yes or no.

    23                  MR. GROSS:   Same objection.

    24                  Go ahead.

    25                  THE WITNESS:   I do not know, no.


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                                     231
                                                                       Page 58
     1       BY MR. VINE:

     2             Q.

     3             A.

     4

     5

     6

     7

     8             Q.

     9             A.

    10             Q.

    11             A.

    12             Q.

    13

    14             A.

    15

    16             Q. Is iOS accessible on ipsw.me?

    17                  MR. GROSS:    Objection.   Foundation.

    18                  MR. VINE:    I'll -- sorry.

    19                  THE WITNESS:    I'm not sure.    I'm not familiar

    20       with -- sorry, my answer was not familiar with that.

    21       BY MR. VINE:

    22             Q. Do you know what ipsw.me is?

    23             A. Not with certainty, no.

    24             Q. You've never heard of it?

    25             A. I've heard of websites that distribute some


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                                     231
                                                                       Page 59
     1       Apple IPSW files.      This is not one that I

     2       specifically recall off the top of my head.

     3             Q. Isn't it true that Apple allows access to iOS

     4       available online?

     5             A. Can you please be more specific with that

     6       question?

     7             Q. Yes.    Does Apple allow, for free, people to

     8       access iOS online?

     9                 MR. GROSS:     Objection.   Vague.

    10                 You may answer.

    11                 THE WITNESS:    I'm struggling to give you a

    12       good answer.     I think if you're asking whether iOS

    13       can be downloaded online, then the answer is yes.

    14       BY MR. VINE:

    15             Q. Okay.    It's downloaded directly from the

    16       Apple server; isn't that correct?

    17             A. That's correct.

    18             Q. When a person downloads iOS, is the person

    19       directed to sign the EULA?

    20             A. I am not sure.

    21             Q. Do you know what EULA is?

    22             A. My understanding is that stands for an end

    23       user license agreement.

    24             Q. Okay.    Have you seen it before?

    25             A. I have seen many EULAs over the years as a


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                                                                       Page 60
     1       person who uses a computer.

     2               Q. Isn't it true a person only signs the EULA

     3       when a new device is activated?

     4               A. I'm sorry, I don't know.

     5               Q. Okay.   So, again, the head of security,

     6       engineering and architecture at Apple does not know

     7       when the EULA is signed, that's correct?              That's your

     8       testimony under oath?

     9               A. Yes, it is, sir.      I'm going to repeat my

    10       prior clarification of this, which is that you seem

    11       to consider this to be some kind of great puzzle, but

    12       my role is an engineering role.          It is not a legal

    13       role.

    14                  So to the extent that Apple has legal

    15       protections which is what you're asking me about and

    16       I'm telling you that I don't know them off the top of

    17       my head and don't feel comfortable testifying about

    18       them, this should not present any kind of surprising

    19       mystery.

    20             Q. If someone downloads the iOS -- sorry,

    21       downloads iOS, is that infringement?

    22                  MR. GROSS:    Objection.     Calls for a legal

    23       conclusion.

    24                  You may answer.

    25       BY MR. VINE:


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                                     231
                                                                       Page 61
     1             Q. You can answer.

     2             A. I don't know how to answer that question

     3       without a legal degree which you helpfully pointed

     4       out we all know I don't have.

     5             Q. So is it copying when somebody downloads

     6       something?

     7                  MR. GROSS:     Objection.   Calls for a legal

     8       conclusion.

     9                  You may answer.

    10                  THE WITNESS:    In a nonlegal sense, yes.     In a

    11       legal sense, I don't feel comfortable answering that

    12       and don't feel like I can.

    13       BY MR. VINE:

    14             Q.

    15

    16             A.

    17

    18

    19             Q.

    20             A.

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                                     231
                                                                       Page 62
     1

     2

     3

     4

     5             Q.

     6

     7             A.

     8

     9

    10

    11                                                                   ,

    12       I

    13             Q. Okay.    Well, let me add -- let me ask

    14       something else first.

    15

    16

    17             A. Can you ask that question in a different way?

    18             Q. What about the question don't you know --

    19       understand?

    20             A.

    21

    22

    23

    24             Q. Okay.

    25             A.


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                                     231
                                                                       Page 63
     1

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     7             Q.

     8

     9                  MR. GROSS:   Objection.    Vague.

    10       BY MR. VINE:

    11             Q.

    12             A.

    13

    14

    15             Q.

    16

    17             A.

    18

    19                  MS. CONSTANTINE:    Just for the record, is any

    20       of this information confidential or confidential AEO?

    21       Can I have Amanda and Chris back in the room?

    22                  MR. GROSS:   If I can be certain of that, I'll

    23       let you know when and then, they're welcome to join

    24       us, but right now, this level of technical detail I'm

    25       not comfortable de-designating right now.           So feel


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                                                                       Page 64
     1       free to ask me again and I'll let you know.

     2                   MS. CONSTANTINE:      As of right now --

     3                   MR. VINE:    Sorry.    Go ahead.

     4                   MS. CONSTANTINE:      I want to ask as of right

     5       now, Chris and Amanda are not allowed in the room

     6       because we're not discussing anything relating to

     7       Apple's internal operations.          So I want --

     8                   MR. GROSS:    Yes, I want -- okay.       I disagree

     9       with your characterization of it and I'd like to keep

    10       them out of the room until I have more assurance that

    11       we're out of that sort of highly confidential subject

    12       matter.

    13                   MS. CONSTANTINE:      That's fine.    Please let me

    14       know when they can come back to the room.

    15                   MR. GROSS:    Sure.    And please feel free to

    16       ask me.      I'm happy to ask Mr. Krstic to let us know

    17       if he knows he is talking about something that's

    18       publicly known and, of course, they can resume their

    19       participation.

    20                   MR. VINE:    Is everybody done?      I can move on

    21       now?    Okay.

    22       BY MR. VINE:

    23              Q.

    24

    25              A. Sure.    And if you wouldn't mind, my last name


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                                     231
                                                                       Page 65
     1       is Krstic.

     2

     3

     4

     5             Q.

     6

     7

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    11

    12                  Do you remember testifying to that?

    13             A. Yes.

    14             Q.

    15             A.

    16

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                                     231
                                                                       Page 66
     1

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     4

     5             Q. Okay.

     6

     7

     8

     9             A.

    10

    11

    12

    13             Q.

    14             A.

    15

    16

    17

    18

    19             Q

    20

    21                  MR. GROSS:   Objection.    Vague.

    22       BY MR. VINE:

    23             Q.

    24             A.

    25


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                                     231
                                                                       Page 67
     1

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     4

     5             Q. Okay.

     6

     7

     8

     9             A.

    10                  MR. GROSS:   Compound.

    11       BY MR. VINE:

    12             Q.

    13

    14             A.

    15

    16             Q.

    17

    18             A.

    19

    20

    21

    22             Q.

    23

    24

    25


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                                     231
                                                                       Page 68
     1             A.

     2             Q.

     3

     4             A.

     5

     6

     7

     8             Q. Okay.

     9             A.

    10

    11

    12

    13             Q.

    14             A.

    15

    16

    17

    18             Q.

    19

    20             A.

    21             Q.

    22

    23             A.

    24             Q.

    25


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                                     231
                                                                       Page 69
     1

     2             A.

     3

     4

     5             Q. Okay.

     6

     7             A.

     8             Q.

     9

    10             A. That's not what I was saying earlier and I

    11

    12             Q. Okay.

    13

    14                  MR. GROSS:       Before you answer, you can answer

    15       it -- excuse me, Mr. Krstic, you may answer this

    16       question with a yes or no, but let me just remind you

    17       and caution you not to reveal the substance of

    18       communications you might have had with Apple's

    19       lawyers.

    20                               :

    21       BY MR. VINE:

    22             Q. Okay.

    23                  MR. GROSS:       You may answer that.

    24                  THE WITNESS:

    25


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                                     231
                                                                       Page 70
     1

     2       BY MR. VINE:

     3             Q.

     4             A.

     5

     6             Q.

     7

     8

     9             A.

    10             Q. Okay.

    11

    12             A.

    13

    14

    15             Q.

    16

    17

    18

    19             A.

    20             Q. Okay.

    21

    22

    23

    24             A.

    25


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                                     231
                                                                       Page 71
     1

     2

     3

     4             Q.

     5

     6

     7             A.

     8

     9

    10             Q. Okay.

    11

    12             A.

    13             Q.

    14

    15

    16                  MR. GROSS:       Objection.   Vague.

    17                               :

    18       BY MR. VINE:

    19             Q. Do you have any experience with hypervisors?

    20             A. I have never written one as an engineer, but

    21       I am familiar with how they're designed and generally

    22       how they're implemented.

    23             Q. Okay.

    24                  MR. VINE:    Lizza, I think you probably can

    25       bring them in because I'm doing some more general


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                                     231
                                                                       Page 72
     1       questions right now.

     2                  MS. CONSTANTINE:      Okay.   Amanda, Chris.

     3       They're coming in.

     4                  MR. GROSS:    Are they within earshot the whole

     5       time?      I want to make sure there is proper

     6       separation.

     7                  MS. CONSTANTINE:      I was screaming on the

     8       other side.      The door was closed.       They're now in the

     9       room.

    10                  MR. GROSS:    Thank you.

    11       BY MR. VINE:

    12             Q. Do you have experience with emulators?

    13             A. I have never worked on one as an engineer,

    14       but I'm familiar with the general concept of how --

    15       the design.

    16             Q. And what about simulators?

    17             A. Same thing, sir, I have never worked on one,

    18       but I have general familiarity.

    19             Q.

    20

    21             A.

    22             Q.

    23             A.

    24             Q.

    25


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                                     231
                                                                       Page 73
     1

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     3

     4             Q. I'm just looking for the document.         In the

     5       meantime, let me just move on.

     6                  If you could -- this is just marked as

     7       confidential, this document, it's

     8

     9                  MS. CONSTANTINE:    Chris Wade is walking out

    10       of the room and he has now left the room.

    11                  Amanda is in the room because the document is

    12       only listed as confidential.

    13                  MR. GROSS:   Thank you.    Can I hear the number

    14       of the document again?

    15                  MR. VINE:

    16                  (Whereupon, Exhibit 5 was marked for

    17       identification.)

    18                  THE WITNESS:   I have the document.

    19                  MR. GROSS:   Thanks for letting me catch up.

    20       BY MR. VINE:

    21             Q. Okay.

    22

    23

    24

    25             A.


                   3URYLGHGE\0DUWHOO$VVRFLDWHV
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                                     231
                                                                       Page 74
     1             Q. Okay.

     2                  MR. GROSS:   Vague.

     3                  Go ahead.

     4                  THE WITNESS:

     5       BY MR. VINE:

     6             Q.

     7             A.

     8

     9

    10

    11

    12             Q. Okay.

    13

    14

    15             A.

    16

    17

    18             Q. Okay.

    19

    20             A.

    21

    22             Q. Okay.

    23

    24             A.

    25


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                                     231
                                                                       Page 75
     1

     2

     3

     4                   MR. VINE:    I think Chris can come in now

     5       because there's no document designated confidential.

     6                   MS. CONSTANTINE:     Hold on.   Let me go get

     7       him.    One second.

     8                   Chris.    Okay, Chris is walking in the room.

     9       Thank you.

    10                   MR. VINE:    Okay.

    11       BY MR. VINE:

    12              Q.



    14                   MR. GROSS:    May I hear that again?

    15

    16       BY MR. VINE:

    17              Q. Sure.      Okay.   You understand what a

    18       hypervisor is, correct?

    19              A. Yes.

    20              Q.



    22                   MR. GROSS:    Foundation.

    23                   You may answer.

    24

    25       BY MR. VINE:


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 79 of
                                     231
                                                                       Page 76
     1               Q. Do you know what render is?

     2               A. In a technical -- as a technical engineering

     3       term, it does not sound like that's what you're

     4       asking, so it would be helpful for me to hear that

     5       question a different way.

     6               Q. Okay.   Do you know if render means deliver?

     7               A. I don't know.        Rendering, as a technical

     8       term, refers specifically to the drawing of graphics.

     9       That's the term in which -- that's the meaning in

    10       which I use it and am familiar with it.

    11              Q. Okay.    Is rendering the automatic process of

    12       generating a photorealistic or non-photorealistic

    13       image from a 2D or 3D model?          You're familiar with

    14       that?

    15              A. I've heard that definition before as well,

    16       yes.    That is not a commonly-used meaning of that

    17       term in my industry.

    18              Q.



    20                   MR. GROSS:   Foundation.

    21                   Go ahead.

    22                   THE WITNESS:    I

                                                            .

    24       BY MR. VINE:

    25              Q. You don't know one way or the other?


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 80 of
                                     231
                                                                       Page 77
     1             A. Will you please -- let me try this one more

     2       time.

     3                  Can you repeat that definition?

     4             Q. Rendering is the automatic process of

     5       generating a photorealistic or non-photorealistic

     6       image from a 2D or 3D model by means of computer

     7       programs.      That's the definition.

     8             A.




    14                  There is not a common understanding of that

    15       term among normal software engineers or security

    16       practitioners.

    17                  A more common understanding of that term, for

    18       example, would be to say that a web page was rendered

    19       on the screen, which you will see does not fit with

    20       that definition.

    21             Q.



    23                  MR. GROSS:    Vague.    Foundation.

    24                  Go ahead.

    25                  THE WITNESS:     In this -- here again, I


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                                     231
                                                                       Page 78
     1       apologize.     I'm not trying to be difficult.



     3




     7       BY MR. VINE:

     8             Q. Does iOS render itself on an iPhone?

     9             A. Given the concerns expressed about the term

    10       "render," is there any other way you are willing to

    11       ask this question?

    12             Q. Well, had iOS -- how do you see iOS on an

    13       iPhone?

    14                 MR. GROSS:    Objection.    Vague.

    15                 Go ahead.

    16                 THE WITNESS:    When you run iOS on an iPhone,

    17       you run an enormous amount of code and system

    18       components.    One or more of those components are

    19       involved in actually drawing graphics on the screen

    20       which creates the visual appearance of the user

    21       interface and that's what users perceive to be the

    22       operating system.

    23                 Does that answer your question?

    24       BY MR. VINE:

    25             Q. Not exactly, but I'll move on.


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                                     231
                                                                       Page 79
     1                  On this issue, do you think the Corellium

     2       Apple product is a unique idea?

     3                  MR. GROSS:     Objection.    Foundation.

     4                  You may answer.

     5                  THE WITNESS:     The idea, no.

     6       BY MR. VINE:

     7             Q. Okay.    What is the idea?

     8                  MR. GROSS:     Foundation.

     9                  THE WITNESS:     The idea of the Corellium

    10       product -- I'm sorry, go ahead.

    11                  MR. GROSS:   Go ahead.      The objection was

    12       foundation.

    13                  You may answer.

    14                  THE WITNESS:

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    18       BY MR. VINE:

    19             Q. Okay.    And where did you get that

    20       understanding from?

    21             A.



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    24

    25             Q. Okay.    So it's your testimony under oath that


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                                                                       Page 80
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     3             A.

     4             Q. Okay.    Has anyone been able to create

     5       virtualization of iOS on mobile devices?

     6             A. Can you explain what you mean by that?

     7             Q. Do you know what virtualization is?

     8             A. Yes.    I'm asking about the part where you

     9       said virtualization on mobile devices.          Can you ask

    10       that differently?

    11             Q. Sorry, no.     iOS on mobile devices, for

    12       example, you're virtualizing the iOS that would be

    13       otherwise on a mobile device.

    14                  MR. GROSS:   Can I hear it again, please?

    15       BY MR. VINE:

    16             Q. Okay.

    17

    18

    19                  MR. GROSS:   Vague and foundation.

    20                  You may answer.

    21                  THE WITNESS:

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    23       BY MR. VINE:

    24             Q. Okay.

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                                     231
                                                                       Page 81
     1             A.

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    12             Q.

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    15             A.

    16             Q.

    17             A.

    18             Q.

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    21             A.

    22             Q.

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    25                  MR. GROSS:   Foundation.


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                                     231
                                                                       Page 82
     1                  THE WITNESS:

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     7       BY MR. VINE:

     8             Q.

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    10             A.

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    14             Q.

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    16             A.

    17             Q

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    19             A.

    20             Q.

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    25             A.


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                                     231
                                                                       Page 83
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     6             Q. Okay.

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     9             A.

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    14             Q. What are jailbreakers?

    15             A. Jailbreakers are a community of folks who

    16       seek to usually weaken or remove security

    17       restrictions on a given piece of technology, Apple or

    18       not, in order to have a different experience of using

    19       that technology.

    20             Q.

    21

    22                  MR. GROSS:   Vague.

    23                  THE WITNESS:

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                                     231
                                                                       Page 84
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     2       BY MR. VINE:

     3               Q.

     4               A.

     5

     6               Q

     7               A.

     8                    MR. GROSS:    I'm sorry, hold on.        Before you

     9       answer, I'm concerned that it -- this might be

    10       confidential personnel information.

    11                    So I'd like to ask Ms. Gorton and Mr. Wade to

    12       leave the room.

    13                    MR. VINE:    She's allowed for confidential.

    14       You're saying it's highly confidential?

    15                    MS. CONSTANTINE:    Is that a yes?       Sorry.

    16                    MR. GROSS:    I'm thinking.    Please give me a

    17       moment.

    18                    MS. CONSTANTINE:    Chris, you can leave the

    19       room.

    20                    MR. GROSS:    No, I think Ms. Gorton can stay

    21       to the answer of this question.          Let me know when we

    22       can proceed.

    23                    MS. CONSTANTINE:    Mr. Wade has left the room

    24       and Amanda is still in the room.           Thank you.

    25                    MR. GROSS:    Thank you.


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                                     231
                                                                       Page 85
     1                  THE WITNESS:

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     4       BY MR. VINE:

     5             Q.

     6             A

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    10             Q.

    11             A.

    12             Q.

    13

    14             A.

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    16

    17             Q.

    18             A.

    19             Q.

    20             A.

    21                  MR. GROSS:     Objection.   Foundation.

    22       BY MR. VINE:

    23             Q.

    24

    25             A.


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                                     231
                                                                       Page 86
     1             Q.

     2

     3             A.

     4             Q.

     5

     6             A.

     7             Q.

     8

     9             A.

    10             Q.

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    12             A.

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    14

    15             Q.

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    18             A.

    19

    20             Q.

    21

    22             A.




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                                                                       Page 87
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     5               Q.

     6               A.

     7               Q.

     8               A.

     9               Q.

    10             A.

    11

    12                    MR. GROSS:   Before you do -- pardon me,

    13       pardon me.       Excuse me.   Pardon me, before you do,

    14       it's getting awfully technical.           I'm going to ask

    15       Ms. Gorton to step out before you give the answer,

    16       please.

    17                    MS. CONSTANTINE:     Amanda, you can step out.

    18       Just give me one second.

    19                    MR. GROSS:   Okay.

    20                    MS. CONSTANTINE:     Okay.   Amanda has left the

    21       room.

    22                    MR. GROSS:   Okay.    Thank you.

    23                    THE WITNESS:   May I proceed?

    24       BY MR. VINE:

    25             Q. Yes.


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                                     231
                                                                       Page 88
     1             A.

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     4             Q.

     5             A.

     6             Q.

     7             A.

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    12             Q.

    13

    14             A.

    15             Q.

    16

    17             A.

    18             Q. Okay.

    19

    20             A.

    21             Q.

    22

    23             A.

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    25             Q. Sure.


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                                                                       Page 89
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     2             A.

     3             Q.

     4             A.

     5             Q.

     6             A.

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    11             A.

    12             Q.

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    16                  MR. GROSS:   Objection.    Foundation.

    17       BY MR. VINE:

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 93 of
                                     231
                                                                       Page 90
     1                  MR. GROSS:    Objection.

     2       BY MR. VINE:

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    12                 MR. GROSS:     Excuse me, excuse me, pardon me.

    13       Can you hear me?

    14                 THE WITNESS:     Yes.

    15                 MR. GROSS:     I lost the audio.     I need you to

    16       stop for a second.       Time out.

    17                 Can anyone hear me?

    18                 MR. VINE:     Yes, we can hear you.       Can you

    19       hear us?

    20                 MR. GROSS:     The phone line cut out.       Please

    21       give me a few seconds to get back in.          Right now, I'm

    22       on a very delayed computer audio.         Bear with me.

    23                 MR. VINE:     Okay.

    24                 THE WITNESS:     After -- Mr. Vine, perhaps

    25       after this line of questioning, I would love to take


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                                     231
                                                                       Page 91
     1       a short break.

     2                  MR. VINE:   Sure.   As soon as Gabe is back on,

     3       I'll have one or two follow-up questions and then

     4       we'll move on -- then, we'll get a break.

     5                  THE WITNESS:   Thank you very much.

     6                  MR. VINE:   And you can call me Jonathan.           You

     7       don't have to call me Mr. Vine.

     8                  THE WITNESS:   Thank you.

     9                  MR. VINE:   I'm not that old.

    10                 (Whereupon, there was a discussion off the

    11       record.)

    12                 MR. VINE:    Let's take a five-minute break.

    13                 (Whereupon, a break was taken.)

    14                 (The record was read by the Reporter.)

    15                 MS. CONSTANTINE:     I'm going to have Amanda

    16       and Chris step out of the room.

    17                 (The record was read by the Reporter.)

    18                 MR. GROSS:    So I want wanted to thank the

    19       court reporter for reading the last partial question

    20       and answer.    We had an audio difficulty.          This is

    21       Gabe Gross.

    22                 I wasn't able to participate in the last

    23       question and answer, but it's been read to me.

    24                 So I'd like to interpose an objection.          It

    25       may call for privileged communication and caution the


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                                                                       Page 92
     1       witness not to reveal any communications with counsel

     2       in that answer.

     3                 It also elicits highly confidential

     4       information and, for that reason, Ms. Gorton and Mr.

     5       Wade have stepped out of the room.

     6                 With that objection, I'm fine with

     7       proceeding.

     8       BY MR. VINE:

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                                     231
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     6                 (Reporter clarification.)

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    12       BY MR. VINE:

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                                     231
                                                                       Page 96
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     7             A. Can you ask that question in a different way,

     8       please?

     9             Q. Sure.

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    20              Q. Thank you.    Sir, I want -- I have a couple

    21        questions.

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    25              A.


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                                      231
                                                                        Page 98
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     2              Q. Okay.

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     6              A.

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     8              Q. Okay.

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    12              A.

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                                      231
                                                                        Page 99
     1              Q. Okay.

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     3              A.

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     5              Q.

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     8              A.

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    18              Q. Okay.

    19              A.

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    21              Q.

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    23              A.

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                                      231
                                                                       Page 102
     1

     2              Q.

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     4              A.

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     7              Q.

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     9              A.

    10              Q                                                     ,

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    19                   MR. GROSS:   Foundation.

    20                   THE WITNESS:

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                                      231
                                                                       Page 103
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     3        BY MR. VINE:

     4              Q. We're going to get to the area of

     5        virtualization in a couple of minutes.

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                                      231
                                                                       Page 104
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     7              Q.

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    10              A.

    11              Q. Do you have an understanding of what good

    12        faith security research means?

    13              A. I have a colloquial understanding, yes.

    14              Q. What's your understanding?

    15              A. Good faith security research is a term that I

    16        think is similar or related to white hat hackers

    17        which is something you asked about earlier in that it

    18        is security research done specifically with the goal

    19        of finding vulnerabilities and then getting them

    20        addressed, reported to vendors so that users can be

    21        protected.

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                                      231
                                                                       Page 105
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    12                   MR. VINE:   Let's take a break.

    13                   (Whereupon, a break was taken.)

    14        BY MR. VINE:

    15              Q. So do you know who Jon Andrews is?

    16              A. Yes, I do.

    17              Q. Okay.

    18

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    20              A.

    21              Q. Okay.

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    25              A.


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                                      231
                                                                       Page 106
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     2              Q.

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     5              A. I

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    11              Q.

    12              A.

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 110 of
                                      231
                                                                       Page 107
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    15              Q.

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    18              A.

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    21

    22              Q.

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    25              A. One moment.


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 111 of
                                      231
                                                                       Page 108
     1                   Sorry, I found it just now.      I have this on

     2        my screen.     Just give me one moment to read the

     3        document.

     4                   I think I have reviewed this document.

     5              Q. Okay.

     6

     7

     8              A.

     9              Q.

    10

    11

    12              A.

    13              Q.

    14                   MR. GROSS:   Foundation.

    15                   THE WITNESS:

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 112 of
                                      231
                                                                       Page 109
     1        BY MR. VINE:

     2              Q.

     3

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     5

     6              A.

     7              Q.

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    11              A.

    12              Q.

    13              A.

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    23              Q.

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 113 of
                                      231
                                                                       Page 110
     1              A. I

     2              Q. Okay.

     3

     4              A.

     5              Q. Okay.

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     7              A.

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    12                                                                   .

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    20              Q.

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    22              A.

    23              Q. Okay.

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 114 of
                                      231
                                                                       Page 111
     1

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     3              A.

     4              Q.

     5

     6

     7              A.

     8              Q. Okay.

     9

    10                   MR. GROSS:    Objection.   Foundation.   Vague.

    11                   MR. VINE:    I'll ask it a different way.

    12        BY MR. VINE:

    13              Q.

    14

    15              A.

    16              Q.

    17              A. Can you ask that question --

    18              Q.

    19

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    21

    22              A.

    23              Q.

    24              A. Gabe and others, I'm not sure who is still in

    25        the room.     This goes into some extremely sensitive


                    3URYLGHGE\0DUWHOO$VVRFLDWHV
Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 115 of
                                      231
                                                                       Page 112
     1        product confidential information.

     2                   Are we all clear to proceed?

     3                   MR. GROSS:    Thank you.     I understand you're

     4        the only non-lawyer and non-court reporter in the

     5        room.

     6                   Lizza, can you confirm that, please?

     7                   MS. CONSTANTINE:      That's correct.

     8                   MR. GROSS:    Go ahead.     We already designated

     9        the transcript highly confidential and AEO.           I'll

    10        just reinforce that.

    11                   You can answer the question.

    12                   THE WITNESS:     Thank you.

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    20        BY MR. VINE:

    21                Q. Okay.

    22

    23                   MR. GROSS:    Foundation.

    24                   THE WITNESS:

    25        BY MR. VINE:


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 116 of
                                      231
                                                                       Page 113
     1              Q. Okay.

     2

     3              A.

     4              Q.

     5              A.

     6              Q.

     7              A.

     8              Q.

     9              A.

    10              Q

    11

    12              A.

    13              Q.

    14              A.

    15              Q.

    16

    17              A. Can you ask that question differently?

    18              Q. Sure.

    19

    20              A.

    21              Q.

    22              A.

    23

    24

    25              Q.


                    3URYLGHGE\0DUWHOO$VVRFLDWHV
Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 117 of
                                      231
                                                                       Page 114
     1

     2              A

     3

     4              Q. Okay.

     5              A.

     6

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    10

    11              Q.

    12

    13

    14                   MR. GROSS:   Vague and ambiguous.

    15                   You can answer.

    16                   THE WITNESS:

    17

    18        BY MR. VINE:

    19              Q.

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    21

    22              A.

    23

    24

    25              Q.


                    3URYLGHGE\0DUWHOO$VVRFLDWHV
Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 118 of
                                      231
                                                                       Page 115
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     7                 MR. GROSS:    Vague.

     8                 THE WITNESS:

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    10        BY MR. VINE:

    11              Q. Okay.

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    21              Q. Okay.

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 119 of
                                      231
                                                                       Page 116
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     7              Q. Okay.   I'm going to do something better.        We

     8        had sent an exhibit to you.       It's a Twitter feed.

     9              A. Okay.

    10              Q. It doesn't have any Bates stamp numbers, but

    11        it's one of the exhibits that were sent to you.

    12                 Can you open that up?

    13              A. I see that.

    14              Q. It says Twitter --

    15                 MR. GROSS:    I want to make sure is this the

    16        file name ivantwitter.pdf?

    17                 MR. VINE:    Yes.

    18                 (Whereupon, Exhibit 6 was marked for

    19        identification.)

    20        BY MR. VINE:

    21              Q. Can you turn to the third page?

    22              A. Yes.

    23              Q. Okay.   And look at the fifth entry now.        Did

    24        you make an entry or was there an entry made on this

    25        Twitter feed under Ivan Krstic saying "For testing, I


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 120 of
                                      231
                                                                       Page 117
     1        actually prefer VMs," period?

     2              A. I don't recall this exact tweet, but this

     3        looks like my Twitter feed, so I have no reason to

     4        believe otherwise.

     5              Q. So you did put in on January 12th, 2012 "For

     6        testing, I actually prefer VMs," period, correct?

     7              A. That is what the page says, yes.

     8              Q. Okay.   What's VM?

     9              A. Virtual machines.

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 121 of
                                      231
                                                                       Page 118
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     8              Q. Okay.   And I think you had indicated that

     9        Twitter at Radian, that's your Twitter account,

    10        correct?

    11              A. That is correct.

    12              Q. And you have no reason to dispute that you

    13        entered this?

    14              A. No, not to my knowledge, no.

    15              Q. Okay.

    16

    17              A.

    18

    19              Q.

    20              A.

    21              Q.

    22              A.

    23

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 122 of
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                                                                       Page 119
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    17              Q. Do you know of any company that can

    18        virtualize macOS on non-Apple hardware?

    19              A. I apologize, I'm not sure about non-Apple

    20        hardware.    I'm familiar with companies that can

    21        virtualize macOS on Apple Mac hardware.

    22              Q. Okay.

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 123 of
                                      231
                                                                       Page 120
     1              A.

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     5              Q.

     6                   (Simultaneous conversation.)

     7                   MR. GROSS:   I was asking the witness to be

     8        allowed to finish his answer before the next

     9        question.

    10        BY MR. VINE:

    11              Q. Okay.    Go ahead.

    12              A.

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    21                                                       .

    22              Q. Okay.

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    25              A.


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 124 of
                                      231
                                                                       Page 121
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    11              Q. Back to the Twitter feed, you indicate you

    12        get full system snapshot.       Snapshot of what?

    13

    14

    15        but the idea here is that by not having to go through

    16        the installation process in order to initialize a

    17        virtual machine, you get a snapshot of the immediate

    18        runnable system.

    19              Q. And you would agree with me that makes

    20        research more efficient?

    21              A. I would not agree with you, no.            I wasn't

    22        talking about research at all, but testing and within

    23        the Linux context, to the best of my recollection.

    24              Q. So for testing, it makes it more efficient?

    25              A. In the context of Linux, which is what I


                    3URYLGHGE\0DUWHOO$VVRFLDWHV
Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 125 of
                                      231
                                                                       Page 122
     1        believe I was referring to, yes.

     2              Q. Okay.

     3

     4

     5              A.

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    25              Q. Fair enough.


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 126 of
                                      231
                                                                       Page 123
     1              A. One thing I wanted to ask, with this Twitter

     2        feed I asked this, but I think it was maybe taken as

     3        rhetorical.    Is there information about what tweet

     4        this was in reply to?

     5              Q. Do you still have access to your Twitter?

     6              A. My Twitter was unfortunately -- well, years

     7        ago I basically gave up on Twitter and emptied out

     8        all of the tweets.

     9              Q. Okay.   Let me ask you a question.         What type

    10        of things does -- what types of things constitute

    11        security research?

    12              A. Broadly, security research is trying to find

    13        unintended and unknown weaknesses in any kind of

    14        system.

    15                  Sometimes security research is even done on

    16        physical systems like, for example, actual locks,

    17        trying to understand how they work and how they could

    18        be opened without the key.

    19                  In the computer security context, it's a

    20        similar premise.     It's any activity that is designed

    21        to find unintended or unknown weaknesses in a

    22        system -- in a system under research.

    23              Q. What are some of the methods you use?

    24              A. For -- given my personal background, most of

    25        the security research that I found that I've done in


                    3URYLGHGE\0DUWHOO$VVRFLDWHV
Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 127 of
                                      231
                                                                       Page 124
     1        the vulnerabilities that I have discovered have been

     2        through source code inspection, and certain kinds of

     3        runtime debugging, D-E-B-U-G-G-I-N-G.

     4              Q. Anything else?

     5              A. Not for me personally.       Of course, there are

     6        many other techniques that are used broadly in the

     7        community.

     8              Q. Okay.

     9                 MR. VINE:    Now is a good time for a 15, 20,

    10        30-minute break.     I probably have -- I probably have

    11        about an hour and a half, an hour, maybe, after this.

    12                 MR. GROSS:    If it's all right with you, then,

    13        let's reconvene at 2:00 p.m. Pacific, 5:00 for you

    14        and then hopefully we can get your last hour done.

    15                 MR. VINE:    Okay.

    16                 MR. GROSS:    Thanks everyone.

    17                 (Lunch recess taken.)

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 128 of
                                      231
                                                                       Page 125
     1                        AFTERNOON SESSION:

     2        BY MR. VINE:

     3              Q.

     4

     5

     6

     7              A.

     8              Q

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    10

    11              A.

    12

    13

    14              Q.

    15

    16              A.

    17

    18

    19              Q.

    20

    21

    22              A.

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 129 of
                                      231
                                                                       Page 126
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    19              Q. It does.

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    21                 MR. GROSS:    One second, please.          Lizza, can I

    22        hear who's in the room with you?

    23                 MS. CONSTANTINE:      There's no one in the room

    24        with me.    It's just me.

    25                 MR. GROSS:    Okay.    Thank you.     Please


                    3URYLGHGE\0DUWHOO$VVRFLDWHV
Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 130 of
                                      231
                                                                       Page 127
     1        continue.

     2                   THE WITNESS:

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     6

     7        BY MR. VINE:

     8              Q. Okay.

     9

    10              A.

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    15                   (Reporter clarification.)

    16                   THE WITNESS:

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    22        BY MR. VINE:

    23              Q. Okay.

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 131 of
                                      231
                                                                       Page 128
     1              A.

     2              Q. Okay.

     3

     4                   MR. GROSS:   Let me object to the extent it

     5        calls for a legal conclusion.

     6                   You may answer the question.

     7                   THE WITNESS:

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    12        BY MR. VINE:

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    14              A.

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 132 of
                                      231
                                                                       Page 129
     1              A.

     2              Q. Okay.

     3

     4              A.

     5

     6              Q.

     7

     8

     9              A.

    10              Q. Okay.

    11

    12

    13                   MR. GROSS:   Vague.

    14                   THE WITNESS:

    15        BY MR. VINE:

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    23                   MR. GROSS:   Vague.

    24                   THE WITNESS:   Sorry, go ahead.

    25                   MR. GROSS:   Objection.    Vague.


                    3URYLGHGE\0DUWHOO$VVRFLDWHV
Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 133 of
                                      231
                                                                       Page 130
     1                   You may answer.

     2                   THE WITNESS:

     3

     4

     5        BY MR. VINE:

     6              Q. Okay.

     7

     8              A.

     9

    10

    11              Q.

    12

    13              A.

    14

    15              Q.

    16

    17                   MR. GROSS:   Incomplete hypothetical.

    18                   Go ahead.

    19                   THE WITNESS:   It's

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    22        BY MR. VINE:

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                    3URYLGHGE\0DUWHOO$VVRFLDWHV
Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 134 of
                                      231
                                                                       Page 131
     1                 MR. GROSS:    Same objections.

     2                 Go ahead.

     3

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     6        BY MR. VINE:

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 135 of
                                      231
                                                                       Page 132
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     9              Q. Okay.

    10

    11              A.

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    14              Q. Okay.

    15

    16              A.

    17

    18              Q.

    19              A.

    20              Q.

    21              A.

    22

    23

    24              Q. Okay.

    25              A.


                    3URYLGHGE\0DUWHOO$VVRFLDWHV
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                                      231
                                                                       Page 133
     1

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     4              Q. Okay.

     5

     6              A.

     7              Q.

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     9              A.

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    12              Q.

    13              A.

    14

    15

    16              Q.

    17              A.

    18              Q. Okay.

    19

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    21                   MR. GROSS:   Objection.    Hold on, hold on.

    22        Sorry.     Hold on.   I object that it calls for a legal

    23        conclusion and lacks foundation.

    24                   Now, you can answer.

    25        BY MR. VINE:


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 137 of
                                      231
                                                                       Page 134
     1              Q.

     2

     3                   MR. GROSS:    Objection --

     4                   THE WITNESS:

     5        BY MR. VINE:

     6              Q.

     7                   MR. GROSS:    Same objections.

     8                   You may answer.

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    14        BY MR. VINE:

    15              Q. Okay.

    16

    17              A.

    18

    19              Q.

    20                   MR. VINE:    We're going to mark as Exhibit 7

    21        which is                      and it's a confidential

    22                                         s
              document, so Amanda can stay, it's

    23        Actually, not stay but come in because I don't think

    24        she's been in the room.

    25                   MS. CONSTANTINE:    I will have Amanda come in.


                    3URYLGHGE\0DUWHOO$VVRFLDWHV
Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 138 of
                                      231
                                                                       Page 135
     1        Just one second.

     2                 (Whereupon, Exhibit 7 was marked for

     3        identification.)

     4                 THE WITNESS:     I have the document open.

     5        BY MR. VINE:

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 139 of
                                      231
                                                                       Page 136
     1        and that document, again, I testify is confidential

     2        so Amanda can stay -

     3                 (Whereupon, Exhibit 8 was marked for

     4        identification.)

     5                 THE WITNESS:     I have it open.      Give me one

     6        moment to read this.

     7        BY MR. VINE:

     8              Q. Okay.

     9

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    13                 MR. GROSS:    Sorry, which one, Counsel?

    14

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    16                 THE WITNESS:     I have this on my screen, yes.

    17        BY MR. VINE:

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                                      231
                                                                       Page 137
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     7              Q. Okay.   So give me a second and I'll get that

     8        exhibit number.

     9                 If you'd turn to -- we'll make this as

    10        Exhibit 8 [sic].     It's a confidential document.

    11

    12                 (Whereupon, Exhibit 9 was marked for

    13        identification.)

    14                 THE WITNESS:     I've reviewed the document,

    15        thank you.

    16        BY MR. VINE:

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    24              Q. Okay.    If you can pull the next exhibit which

    25        is a Corellium document,                            that we'll


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 141 of
                                      231
                                                                       Page 138
     1        mark as Exhibit 9 [sic].

     2                   (Whereupon, Exhibit 10 was marked for

     3        identification.)

     4                   MR. GROSS:   Hold on, please.     I need to catch

     5        up.

     6                   MR. VINE:           It's a document we

     7        produced.

     8                   MR. GROSS:   I've got it.    Mr. Krstic, do you?

     9                   THE WITNESS:   I have        on my screen, yes.

    10        BY MR. VINE:

    11              Q.

    12

    13              A.

    14              Q.

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    16                   MR. GROSS:   Foundation.

    17                   THE WITNESS:

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    19        BY MR. VINE:

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    25                 MR. VINE:    I'm going to mark -- I think it's


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 143 of
                                      231
                                                                       Page 140
     1        Exhibit 9 or 10 -- I think it's Exhibit 10 [sic],

     2        which is an attorneys' eyes only document,

     3

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     5                  MR. GROSS:   Before you ask your question --

     6                  MS. CONSTANTINE:     I will have Amanda leave

     7        the room.

     8                  (Whereupon, Exhibit 11 was marked for

     9        identification.)

    10                  THE WITNESS:    I have the document on my

    11        screen.     I wanted to ask after this line of

    12        questioning is done a very short, few-minute break

    13        would be appreciated.

    14        BY MR. VINE:

    15              Q. I didn't even get to ask you the question, so

    16        there is no open question.       So if you want to take a

    17        break now, by all means, I will accommodate.

    18              A. I would appreciate that and I'll be back in

    19        less than three minutes.

    20              Q. No problem, Ivan.

    21                  (Whereupon, a break was taken.)

    22        BY MR. VINE:

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    24                 MR. GROSS:    Objection.     That misstates

    25        testimony.


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 146 of
                                      231
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     4        BY MR. VINE:

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     9              Q. Okay.   Now, let's go to the Corellium --

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    11

    12              A. It's on my screen.

    13                 MR. GROSS:    Before you ask your question,

    14        Lizza, can you remind me who, if anyone, is in the

    15        room with you?

    16                 MS. CONSTANTINE:      There's no one in the room

    17        with me.

    18                 MR. GROSS:    Thank you.     I appreciate it.

    19        BY MR. VINE:

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     9                 MR. GROSS:    Just object to the line of

    10        questioning about unannounced or future products as

    11        entirely irrelevant.

    12                 MR. VINE:    Okay.

    13        BY MR. VINE:

    14              Q. You can go on.

    15

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    19                 MR. GROSS:    So I -- I wanted to -- well, we

    20        have -- we're under the AEO, the attorneys' eyes only

    21        designation, which I think is appropriate here, but I

    22        think we have some Court guidance to the extent any

    23        of this testimony is relevant much less discoverable

    24        right now.

    25                 You can keep your testimony to a high level


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                                      231
                                                                       Page 148
     1        to answer Mr. Vine's question.        Why don't we start

     2        with that.    I'm not sure how deep he expects to go

     3        into this.

     4                 MR. VINE:    Let me make sure the record is

     5        clear.

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    16        BY MR. VINE:

    17              Q. Fair enough.

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    22              A. As

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    25              Q. Okay.   I'll move on.


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 152 of
                                      231
                                                                       Page 149
     1              A. Thank you very much.

     2              Q. No problem.

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     5              A.

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    10                   MR. GROSS:   Foundation.

    11                   Go ahead.

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    16        BY MR. VINE:

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     9              Q. Sure.   If you can take a look at -- it's an

    10        attorneys' eyes only document,

    11

    12

    13                   MR. GROSS:    I need the number one more time,

    14        please.

    15                   MR. VINE:

    16                   THE WITNESS:    I have this in front of me.

    17                   MR. VINE:    It's the next number.       I don't

    18        remember if it was 10 or 11.

    19                   (Whereupon, Exhibit 12 was marked for

    20        identification.)

    21                   MS. CONSTANTINE:    It will be 11 [sic].

    22                   MR. VINE:    Perfect.

    23        BY MR. VINE:

    24              Q.

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 157 of
                                      231
                                                                       Page 154
     1              A.

     2              Q. Okay.

     3              A.

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     6              Q.

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                                      231
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     4              Q.

     5                   MR. VINE:    Let's mark this as Exhibit 12

     6        [sic].     It's an attorneys' eyes only document,

     7

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     9                   (Whereupon, Exhibit 13 was marked for

    10        identification.)

    11                   THE WITNESS:    I have it.

    12                   MR. GROSS:    You may have misspoken about the

    13        date, or I may not have heard it right.

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    16        BY MR. VINE:

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    19              Q. Okay.

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    21              A.

    22              Q.

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    24              A.

    25              Q.


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     4              A.

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     8              Q.

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    12              A.

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    14              Q.

    15              A.

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    25              Q.


                    3URYLGHGE\0DUWHOO$VVRFLDWHV
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    11              Q. If we could turn to I think it's Exhibit 13

    12        [sic] now,                      -- it's an attorneys' eyes

    13        only document

    14

    15

    16                   (Whereupon, Exhibit 14 was marked for

    17        identification.)

    18                   THE WITNESS:   I have it on my screen.

    19        BY MR. VINE:

    20              Q. Okay.

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    25              A.


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     7                 MR. VINE:    If we can mark as Exhibit 14 [sic]

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    12                 (Whereupon, Exhibit 15 was marked for

    13        identification.)

    14        BY MR. VINE:

    15              Q. Do you have that document?

    16              A. I have it on my screen.

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    11                 MR. VINE:    Let's go to                       --

    12        sorry,                         .   We'll mark that as

    13        Exhibit 15 [sic].

    14                 (Whereupon, Exhibit 16 was marked for

    15        identification.)

    16                 THE WITNESS:     I have it on my screen.

    17        BY MR. VINE:

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     6                   MR. VINE:    Next exhibit,

     7              , it's attorneys' eyes only.

     8                   MR. GROSS:    Just give me a moment.       I don't

     9        see that one yet in the ones you sent over.

    10                   MR. VINE:

    11                   THE WITNESS:     I don't appear to have that

    12        document.

    13                   MR. VINE:    Fine.    I'll move on, not a big

    14        deal.     I'll withdraw that.

    15        BY MR. VINE:

    16              Q. The                             can you take a look

    17        at that?     We'll mark that as the next exhibit.

    18              A. Yes.     Please allow me a moment to read that.

    19              Q. Yes.

    20                   (Whereupon, Exhibit 17 was marked for

    21        identification.)

    22                   THE WITNESS:     Thank you.    I reviewed it.

    23        BY MR. VINE:

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    21                 MR. GROSS:    Compound.

    22                 Go ahead.

    23        BY MR. VINE:

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                                      231
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     4              Q. Can you unknowingly lie?

     5              A. Is that a philosophical question?

     6              Q. You're the one who said "knowingly."        I've

     7        never heard anybody say that.

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     3              A. If it's okay at about 3:30 -- perhaps at

     4        3:30, in about ten minutes, we can take a short

     5        break.

     6              Q. Okay.   Not a problem.

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    14                 MR. GROSS:    Foundation.

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    17                 MR. GROSS:    Go ahead.     I objected to

    18        foundation.

    19                 You may answer.

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                                                                       Page 169
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     2        BY MR. VINE:

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                                      231
                                                                       Page 170
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     3              Q. Sure.   It's an attorneys' eyes only document,

     4

     5                 (Whereupon, Exhibit 18 was marked for

     6        identification.)

     7                 MR. GROSS:

     8

     9                 MR. VINE:

    10

    11                 MR. GROSS:    No, I don't have that.

    12                 (Simultaneous conversation.)

    13                 MS. CONSTANTINE:      I can send it to you right

    14        now you.

    15                 THE WITNESS:     Perhaps we could take a

    16        three-minute break now?

    17                 MR. VINE:    Sure.

    18                 MR. GROSS:    Thank you.

    19                 MR. VINE:    No problem.

    20                 (Whereupon, a break was taken.)

    21        BY MR. VINE:

    22              Q. So did you get the document?

    23              A. Oh, sorry, let me look.

    24                 Yes, I have it on my screen.

    25


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    21                 MR. GROSS:    May I hear that again?       I'm

    22        sorry, I missed the question.

    23                 MR. VINE:    Not a problem.

    24        BY MR. VINE:

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    24              Q. Okay.   If we could turn to the next exhibit

    25        that we'll mark, it's a                 attorneys' eyes


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 177 of
                                      231
                                                                       Page 174
     1        only,

     2              A. I have it.

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     8                 MR. GROSS:    Objection.     Foundation.

     9                 You can answer.      Make sure when you do, you

    10        don't reveal the substance of any conversations you

    11        had with attorneys.      But you can answer the question.

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    16        BY MR. VINE:

    17              Q. You don't have anything wrong -- you haven't

    18        been diagnosed at all or on any medication that would

    19        somehow impact your memory; is that correct?

    20                 MR. GROSS:    Objection.     Argumentative.

    21                 THE WITNESS:     No.   Let me take that as if you

    22        intended it good-naturedly and say that in the --

    23        BY MR. VINE:

    24              Q. Sir, sir, sir --

    25                 MR. GROSS:    Let him finish his answer.


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 179 of
                                      231
                                                                       Page 176
     1        BY MR. VINE:

     2              Q. I'm going to make my statement.            He accused

     3        me of doing something inappropriate.         It is a

     4        standard question in any deposition asking about

     5        somebody's memory.

     6                 So it is not meant to offend you.            That is

     7        asked at every deposition.

     8              A. And I replied by saying yes, I will take it

     9        exactly as that, which is in good faith, that was no

    10        accusation in what I replied with.

    11                 So my point was that no, it's -- I have no

    12        known disability with memory, but I do have a job

    13        where I participate in thousands of meetings and send

    14        thousands of e-mails and text messages which means

    15        that it's basically impossible to try and recall the

    16        specific details of most of them.

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    23                 MR. GROSS:    Again, you may answer the

    24        question if you can do so without revealing any

    25        communications you might have had with counsel.


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                                                                       Page 177
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     7        BY MR. VINE:

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    11              Q. Okay.   Are you aware that -- are you aware

    12        that Corellium had a party at Black Hat in Las Vegas

    13        or at that event, the Black Hat conference?

    14              A. Yes, I answered that two questions ago and

    15        yes, I vaguely recall Chris mentioning something to

    16        that effect, but I don't remember any of the

    17        specifics.

    18              Q. Did you attend that party?

    19              A. No, not that I recall.

    20              Q. Are you aware that five people from Apple

    21        attended that party?

    22              A. No, I'm not.

    23              Q. Do you know what Capture the Flag is?

    24              A. In the security context, yes.

    25              Q. Yes.


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    12                 MR. VINE:    This is an attorneys' eyes only

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    15                 (Whereupon, Exhibit 19 was marked for

    16        identification.)

    17                 MR. GROSS:    One second.

    18                 Okay.   I'm ready when you are.

    19                 THE WITNESS:     Ready.    I have it on my screen

    20        and I've reviewed it.      Thank you.

    21        BY MR. VINE:

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     5                 MR. VINE:    Then, I want to mark the next

     6        exhibit which is                                another

     7        attorneys' eyes only document

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     9              A. I have it on my screen.

    10                 (Whereupon, Exhibit 20 was marked for

    11        identification.)

    12        BY MR. VINE:

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    20                 (Simultaneous conversation.)

    21        BY MR. VINE:

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                                      231
                                                                       Page 188
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     2              Q. That's fine.     I will.

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    16              Q. I'm going to give you that document.        I

    17        believe it was sent to you all and it's

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    19                  MR. GROSS:   Hold on, please.

    20                  Okay.   I have it.    Mr. Krstic, do you have

    21        it?

    22                  THE WITNESS:    I have it.    I have it on the

    23        screen.

    24                  (Whereupon, Exhibit 21 was marked for

    25        identification.)


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 192 of
                                      231
                                                                       Page 189
     1        BY MR. VINE:

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    13              Q. Okay.

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    15                 MR. GROSS:    Foundation.

    16        BY MR. VINE:

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    15                 MR. GROSS:    Foundation.

    16                 You may answer.

    17        BY MR. VINE:

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    22              Q. Can you turn to the next document which is

    23        now attorneys' eyes only, which is

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    25              A. I have it on my screen.


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 194 of
                                      231
                                                                       Page 191
     1                   (Whereupon, Exhibit 22 was marked for

     2        identification.)

     3        BY MR. VINE:

     4              Q.

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     6              A. That's on the screen.

     7              Q.

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 195 of
                                      231
                                                                       Page 192
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     3              Q. Are you aware that you were designated as the

     4        representative of Apple to discuss the bug bounty

     5        program?

     6              A. Yes.

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    11                   MR. GROSS:   Vague and ambiguous.

    12                   You can answer.

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    20        BY MR. VINE:

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    24                   MR. GROSS:   Before you answer, let me just

    25        caution you not to reveal the substance of your


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 196 of
                                      231
                                                                       Page 193
     1        communications with your lawyers or the company's

     2        lawyers.

     3                  But if you can answer Mr. Vine's question by

     4        explaining facts that are not privileged

     5        communications, you should feel free to do so.

     6                  THE WITNESS:     Thank you.

     7

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     9        BY MR. VINE:

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    11              A. Can I ask counsel on my side, is this a

    12        list --

    13                   MR. GROSS:    Hold on, hold on, hold on.     So

    14        before you ask a question that might elicit a

    15        privileged answer, let me just offer something that I

    16        think could help.

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    21                   MR. VINE:    That's what I asked him.

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    23                   (Simultaneous conversation.)

    24        BY MR. VINE:

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                                                                       Page 194
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     4              A. Okay.   Thank you.

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    11                 MR. GROSS:    Vague.

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    20        BY MR. VINE:

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                                      231
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     2                 MR. GROSS:    Objection.     Compound.

     3        BY MR. VINE:

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    10        BY MR. VINE:

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    25                 MR. GROSS:    Vague.    Foundation.


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 203 of
                                      231
                                                                       Page 200
     1                 You may answer.

     2        BY MR. VINE:

     3              Q. You can answer.

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    13                 MR. VINE:    Why don't you guys give me two

    14        minutes.    I've got to look at my notes and then I'll

    15        tell you if I'm done or not.        Okay?

    16                 MR. GROSS:    That sounds fine.       Thank you.

    17                 (Whereupon, a break was taken.)

    18                 MR. VINE:    So we just submitted -- everybody

    19        should have received an e-mail with the next exhibit.

    20        Did everybody get it?

    21                 It's Apple amended responses or objections to

    22        Corellium's first set of interrogatories.

    23        BY MR. VINE:

    24              Q. Do you have that?

    25              A. I don't have it in my inbox yet.


                    3URYLGHGE\0DUWHOO$VVRFLDWHV
Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 207 of
                                      231
                                                                       Page 204
     1                 MS. CONSTANTINE:      Gabe, I sent it to you.

     2                 MR. VINE:    Gabe, we need you to approve it so

     3        we can send it to Ivan.

     4                 Are we a go?     Gabe?   We can't hear you.

     5                 MR. GROSS:    Sorry, I was speaking into a

     6        muted phone.    Just bear with me, please.

     7                 MR. VINE:    No problem.     We couldn't hear you.

     8                 While he's looking at that, let me ask you

     9        this question.

    10        BY MR. VINE:

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    13                 MR. GROSS:    It's vague and ambiguous.

    14        BY MR. VINE:

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    14                 MR. GROSS:    I'm sorry.     Vague and ambiguous.

    15        BY MR. VINE:

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                                                                       Page 206
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    10                  I want you to turn to

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    12                  (Whereupon, Exhibit 23 was marked for

    13        identification.)

    14        BY MR. VINE:

    15              Q. And if you look in this document, on page --

    16              A. I'm sorry, I don't believe you gave me that

    17        that document number.

    18              Q. It's the exhibit that Lizza just sent.

    19                  MR. VINE:    Gabe, did you send it to Ivan?

    20                  MR. GROSS:    I did.

    21                  THE WITNESS:    Got it.    One moment.

    22        BY MR. VINE:

    23

    24              A. I'm just waiting for it to download.        One

    25        second.


                    3URYLGHGE\0DUWHOO$VVRFLDWHV
Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 210 of
                                      231
                                                                       Page 207
     1                 I have the page on my screen and I'm just

     2        going to read it.

     3              Q. Okay.

     4              A. Yes.    I just finished reading it.

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    15                 MR. GROSS:    Objection.     Vague and ambiguous.

    16        Lacks foundation.

    17                 MR. VINE:    It's not vague at all.

    18        BY MR. VINE:

    19              Q. But go ahead and answer.

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    16                 MR. GROSS:    Vague and ambiguous.

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    11                   MR. VINE:    I'm done, Ivan.      I appreciate your

    12        time.     I don't know if counsel has any questions.

    13                   Do you, Gabe?

    14                   MR. GROSS:    I think I have a few.         Why don't

    15        we jump into them now.        Hopefully I can do it in

    16        short order without the need for a break, but I'm not

    17        going to promise that.        I may need five.        So let me

    18        get through what I think would be useful, please.

    19        One second.

    20                                   EXAMINATION

    21        BY MR. GROSS:

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    21              Q.

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    24              A.

    25                   MR. VINE:                Asked and
Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 219 of
                                      231
                                                                       Page 216
     1        BY MR. GROSS:

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    14                 MR. VINE:    Objection.

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    25        BY MR. GROSS:


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    14                 MR. VINE:

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    16                 MR. GROSS:

    17                 MR. VINE:

    18                 MR. GROSS:

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    20                 MR. VINE:

    21        BY MR. GROSS:

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    25                 MR. VINE:    Objection.


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 221 of
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    11        BY MR. GROSS:

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    17              Q.

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    22              A.

    23              Q.

    24              A.

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    21              Q.

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    25              A.


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 223 of
                                      231
                                                                       Page 220
     1              Q.

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     3              A.

     4              Q

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    11                   MR. VINE:   Objection.

    12                   THE WITNESS:

    13        BY MR. GROSS:

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    24                 (Simultaneous conversation.)

    25                 THE WITNESS:


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 225 of
                                      231
                                                                       Page 222
     1        BY MR. GROSS:

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    13              Q. All right.    I think I'm likely done or close

    14        to done.

    15                 MR. GROSS:    So why don't we take five.

    16                 MR. VINE:    I have a couple of follow-up.

    17                 MR. GROSS:    Excuse me, could you just wait

    18        until I'm done with the redirect?         If I have no

    19        questions, then I'll hand it right over to you.

    20                 MR. VINE:    Okay.

    21                 MR. GROSS:    Okay.    Let's take five, please.

    22                 MR. VINE:    Thank you.

    23                 (Whereupon, a break was taken.)

    24                 MR. GROSS:    Back on the record.

    25                 Jonathan, I'm done questioning.            I pass the


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 226 of
                                      231
                                                                       Page 223
     1        witness.

     2                   MR. VINE:   Sure.   Thank you.

     3                            FURTHER EXAMINATION

     4        BY MR. VINE:

     5              Q. A couple follow-up questions, Ivan.

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    18              Q.

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    21              A.

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 227 of
                                      231
                                                                       Page 224
     1              Q.

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     3              A.

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     6              Q. Okay.   Now, what I don't get is I asked you a

     7        number of questions throughout the deposition and you

     8        answered

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    10                           You just don't remember.

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    15                   Can you explain why all of a sudden you have

    16        a memory in answering Apple's questions on

    17        conversations but you didn't have a memory when I

    18        asked you those questions?

    19              A. Yes, I'd be happy to try.        The questions that

    20        we're asking are in regards to specific dates and

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    25                   Whereas, a couple of things that I pointed


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 228 of
                                      231
                                                                       Page 225
     1        out in response to Mr. Gross' question

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     4              Q. Okay.

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     7              A.

     8              Q.

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    10              A.

    11                   MR. VINE:    No further questions.

    12                   You have the opportunity to read or waive.        I

    13        suspect your counsel is going to want you to read,

    14        but that's up to him.

    15                   MR. GROSS:    I'll handle that.     We won't be

    16        waiving anything.       The witness will check and review

    17        and sign his transcript.

    18                   THE REPORTER:    Would you like to order a

    19        certified copy of this deposition?

    20                   MR. GROSS:    Yes, please.   Nina, if you need

    21        to be in touch with somebody from my office to take

    22        care of the form, we'll get right on it.

    23                   THE REPORTER:    Does anybody need a rough

    24        draft?

    25                   MR. GROSS:    Yes, please.


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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 229 of
                                      231
                                                                       Page 226
     1                 MR. VINE:    Okay, we'll take a rough draft if

     2        they are.    Thank you everybody.      Have a good day.

     3                 (The deposition of IVAN KRSTIC was concluded

     4        at 5:04 p.m.)

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 230 of
                                      231
                                                                       Page 227
     1                         CERTIFICATE OF WITNESS

     2

     3              I, IVAN KRSTIC, hereby declare that I have read

     4        the foregoing testimony pages 1 through 228,

     5        inclusive.    I hereby state there are:

     6

     7                  (check one)

     8

     9                  _______________ no corrections

    10                  _______________ corrections per attached

    11

    12

    13                  ______________________________________
                        IVAN KRSTIC
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    16                  DATE

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Case 9:19-cv-81160-RS Document 811-1 Entered on FLSD Docket 03/08/2021 Page 231 of
                                      231
                                                                       Page 228
     1                    I, NINA PAVONE, a Certified Shorthand

     2        Reporter, hereby certify that the witness in the

     3        foregoing deposition was by me duly sworn to tell the

     4        truth, the whole truth, and nothing but the truth in

     5        the within-entitled cause;

     6                    That said deposition was taken down in

     7        shorthand by me, a disinterested person, at the time

     8        and place therein stated, and was hereafter

     9        transcribed, by computer, into typewriting, under my

    10        direction and supervision;

    11                    That before completion of the deposition

    12        review of the transcript ( x) was requested ( ) was

    13        not requested.      If requested, any changes made by the

    14        deponent (and provided to the reporter) are appended

    15        hereto.

    16                    I further certify that I am not of counsel,

    17        nor attorney for any of the parties in the foregoing

    18        deposition and caption named, nor in any way

    19        interested in the outcome of the cause named in said

    20        caption, and that I am not related to any of the

    21        parties hereto.

    22

    23        DATE: March 31, 2020

    24                                 _________________________________

    25                                        NINA PAVONE, CSR #7802


                        'LJLWDOO\VLJQHGDWSP('7
